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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

 Civil Case No.: 1:16-cv-02351-RBJ
 (consolidated)

 GREGORY BELL, et al.,

 Plaintiffs,

 v.

 THE 3M COMPANY(f/k/a Minnesota Mining
 and Manufacturing Co.), et al.,

 Defendants.


 MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR CLASS CERTIFICATION


 I.      INTRODUCTION

         Plaintiffs seek to represent tens of thousands of residents of Fountain, Security,

 Widefield, and Colorado Springs who were exposed to contaminated drinking water from the

 City of Fountain, the Security Water and Sanitation District, the Widefield Water and Sanitation

 District, and private wells, 1 all of which obtain groundwater from the Colorado Department of

 Public Health & Environment (“CDPHE”) Areas of Investigation. 2 The drinking water has been

 contaminated with Defendants’ Aqueous Film Forming Foam (“AFFF”), which contains


 1
   Revised Preliminary Report for Class Certification of PFC Contamination of Public Water
 Systems and Private Wells in the Security, Widefield, and Fountain, Colorado Area, January
 24th 2018, prepared by Paul E. Rosenfeld, Ph.D of Soil Water Air Protection Enterprise
 (“Rosenfeld Revised Preliminary Report”), at 1, Attachment V (“Proposed Class Boundary for
 Security, Widefield, and Fountain”) and Attachment W (“Proposed Class Boundary for Smaller
 Water Systems and Private Wells”), attached as Exhibit 3.
 2
    Id. at Attachment L (“CDPHE Perfluorinated Compounds: Latest Observations in Source
 Water Map”).
                                                1
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 dangerous levels of perfluorinated compounds (“PFCs”) such as perfluorooctanoic acid

 (“PFOA”) and perfluorooctane sulfonate (“PFOS”). Plaintiffs respectfully request that the Court

 certify classes pursuant to Federal Rule of Civil Procedure 23, as set forth herein. Plaintiffs seek

 the creation of a medical monitoring program for residents who have consumed contaminated

 water, placing them at a significantly increased risk of developing serious medical conditions.

 Additionally, Plaintiffs seek compensation for real property owners harmed by the

 contamination’s negative impact on property values.

 II.    FACTUAL BACKGROUND

        Defendants manufactured, marketed, distributed, and sold AFFF to the United States

 Department of Defense (“DOD”) and United States Air Force (“USAF”) for use in firefighting

 efforts and training exercises. Beginning in 1970, the USAF used AFFFs at Peterson Air Force

 Base and Colorado Springs Municipal Airport in Colorado Springs, Colorado (“PAFB”).3 For

 decades, Defendants marketed and sold AFFF without adequately warning of the health and

 environmental hazards associated with the toxic chemicals in AFFF, including their potential to

 contaminate water supplies, persist in the environment, bioaccumulate, and contribute to the

 development of serious medical conditions.4, 5 As a result of the use and disposal of AFFF at


 3
   U.S. Army Corps of Eng’rs, Revised Final Preliminary Assessment Report for Perfluorinated
 Compounds at Peterson Air Force Base El Paso County, Colorado (November 2016),
 http://www.peterson.af.mil/Portals/15/documents/Public%20Notices/552503_Revised%20Final
 %20Peterson%20AFB%20PA_11_2016.pdf?ver=2017-05-16-162140-693.
 4
   U.S. Envtl. Prot. Agency, Drinking Water Health Advisory for Perfluorooctanoic Acid (PFOA)
 (May                    2016),                https://www.epa.gov/sites/production/files/2016-
 05/documents/pfoa_health_advisory_final-plain.pdf.
 5
   Exposure to PFOA/PFOS has been statistically significantly associated with at least six (6)
 defined adverse medical outcomes (“AMOs”). See Updated Report In Support of The Tri-City
 Medical Monitoring Program, January 25, 2018, Stephen King, Ph.D., M.P.H., attached as
 Exhibit 5.
                                                  2
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 PAFB, PFOA and PFOS were released into Plaintiffs’ drinking water.6 In fact, the USAF itself,

 “has determined that the use of AFFF at Peterson AFB caused or contributed to the PFOA/PFOS

 contamination in the community water sources located off-base and downgradient of Peterson

 AFB.”7 Further, “[a]ctual or assumed releases of pollutants or contaminants from Peterson AFB

 may present an endangerment to public health, welfare, or environment. Based on information

 collected in the [Preliminary Assessment] and [Site Investigation] and knowledge about

 groundwater flow, use of AFFF at Peterson AFB has caused or contributed to the presence of

 PFOA and PFOS detected in [sic] off-base in drinking water supplies (to the south and

 downgradient of Petersen [sic] AFB) at concentrations greater than the EPA HA levels.”8

        In May of 2016, the United States Environmental Protection Agency (“EPA”) established

 a drinking water health advisory level for PFOA and PFOS and warned that lifetime exposure to

 PFOA and PFOS over 70 parts per trillion was linked to the development of numerous serious

 medical conditions. 9 It was during this time that Plaintiffs and the Class were informed their

 drinking water contained dangerous levels of PFCs and were advised to seek alternate drinking

 water supplies.10   Each Class Member will rely on the same evidence to establish that

 Defendants’ conduct is directly responsible for the bioaccumulation of PFOA and PFOS in the


 6
   In November 2016, the U.S. Army Corps of Engineers confirmed that the use of AFFF at PAFB
 was a possible source of PFC contamination in the environment. See U.S. Army Corps, Revised
 Preliminary Assessment Report.
 7
   Action Memorandum for a Time-Critical Removal Action of PFC Contaminated Water South
 of Peterson Air Force Base, Colorado. Suzanne W. Bilbrey, August 9, 2017, at 6-7. Attached as
 Exhibit 2.
 8
   Id. at 7.
 9
   U.S. Envtl. Prot. Agency, Lifetime Health Advisories and Health Effects Support Documents for
 Perfluorooctanoic Acid and Perfluorooctane Sulfonate, 81 Fed. Reg. 33250 (May 25, 2016).
 10
    Colorado Dep’t of Public Health & Env’t, EPA issues new perfluorinated compounds health
 advisory (May 19, 2016), https://www.colorado.gov/pacific/cdphe/news/EPA-PFC-advisory.
                                               3
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 Plaintiffs11 as well as the negative impacts on Plaintiffs’ property values.       Absent class

 certification, the Court will be required to individually adjudicate issues common to the

 thousands of residents who have sustained damage to their health and property.

 III.   THE CLASS ACTION WAS FILED TO PROTECT AFFECTED RESIDENTS
        AND PROPERTY OWNERS

        On December 8, 2017, Plaintiffs filed the Second Amended Class Complaint, asserting

 claims under Colorado law based on negligence, medical monitoring, strict products liability,

 and civil conspiracy seeking monetary and injunctive relief. Class certification is sought on

 behalf of prospective Class Members who fall into either or both of the following classes or sub-

 classes:

        A.     Medical Monitoring Class: Individuals who received water provided by their

 municipal water supplier, smaller water systems, or domestic water supply wells in the CDPHE

 Areas of Investigation. This Class is composed of the following sub-classes:

                1.    All individuals who reside or resided within the CDPHE Areas of
 Investigation who received water provided by the Security Water and Sanitation District (the
 “Security Water Sub-Class”); 12
                2.    All individuals who reside or resided within the CDPHE Areas of
 Investigation who received water provided by the Widefield Water and Sanitation District (the
 “Widefield Water Sub-Class”); 13


 11
    See, e.g., Ex. 3, Rosenfeld Revised Preliminary Report; Rosenfeld Supplemental Report for
 Class Certification of PFC Contamination of Public Water Systems and Private Wells in the
 Security, Widefield, and Fountain, Colorado Area, January 24 2018, prepared by Paul E.
 Rosenfeld, Ph.D of Soil Water Air Protection Enterprise (“Rosenfeld Supplemental Report”),
 attached as Exhibit 1.
 12
     Security pressure zones S_1, S_2, and S_3 had significantly elevated exposure point
 concentrations of PFOA and PFOS in drinking water. Ex. 1, Rosenfeld Supplemental Report at
 11, 18, and Attachment K (“Preliminary Exposure Point Concentration Calculations for Security
 Water & Sanitation District”).
 13
    Widefield pressure zones W_1, W_2, and W_3 had significantly elevated exposure point
 concentrations of PFOA and PFOS in drinking water. Ex. 1, Rosenfeld Supplemental Report at
                                                4
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                3.    All individuals who reside or resided within the CDPHE Areas of
 Investigation who received water provided by the City of Fountain Utilities Department (the
 “Fountain Water Sub-Class”); 14 and

                4.     All individuals who reside or resided within the CDPHE Areas of
 Investigation who received water from smaller water systems or domestic water supply wells
 (the “Private Water Sub-Class”). 15

        B.      Property Damage Class: Individuals who own real property in the CDPHE

 Areas of Investigation serviced by the three water districts, Fountain, Security, and Widefield, or

 those who have private water wells in the CDPHE Areas of Investigation. This class can be

 readily ascertained by U.S. Census data, property records, and county records.

 IV.    LEGAL STANDARD

        Under Federal Rule of Civil Procedure Rule 23(a), the party seeking class certification

 must demonstrate that: “(1) the class is so numerous that joinder of all members is impracticable;

 (2) there are questions of law or fact common to the class; (3) the claims or defenses of the

 representative parties are typical of the claims or defenses of the class; and (4) the representative

 parties will fairly and adequately protect the interests of the class.” Under Rule 23(b)(3), the

 party seeking certification must prove common issues predominate over issues affecting


 11-12, 18, and Attachment L (“Preliminary Exposure Point Concentration Calculations for
 Widefield Water & Sanitation District”).
 14
     Fountain pressure zones F_High, F_Cumberland Green, and F_Little Ranches had
 significantly elevated exposure point concentrations of PFOA and PFOS in drinking water. Ex.
 2, Rosenfeld Supplemental Report at 12-14, 18, and Attachment M (“Preliminary Exposure Point
 Concentration Calculations for City of Fountain Water Department”).
 15
    Small water systems and private wells in the CDPHE’s Area of Investigation have been found
 to have significantly elevated concentrations of PFOA/PFOS based on limited water sampling.
 Some wells located more than seven (7) miles south of Fountain have PFOA/PFOS
 concentrations exceeding the EPA’s Provisional Health Advisory level. Ex. 1, Rosenfeld
 Supplemental Report at 14-15.


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 individual members and that the class action vehicle is the superior method of adjudication.

 Under Rule 23(b)(2), the party seeking certification must request injunctive relief to remedy

 conduct that applies generally to the class as a whole. Plaintiffs seek certification under Rule

 23(b)(3) for the Property Damage Class. Plaintiffs seek certification for the Medical Monitoring

 Class under Rule 23(b)(3) or, in the alternative, under Rule 23(b)(2). Plaintiffs have satisfied the

 requirements of Rules 23(a), (b)(3), and (b)(2) and respectfully request that the Court certify the

 proposed classes and sub-classes.

 V.     LEGAL ARGUMENT

        A.      The Proposed Classes Are Appropriately Defined and Ascertainable.

        To certify a class, the class must be appropriately defined. 16 “Although the identity of

 individual class members need not be ascertained before class certification,”17           the class

 description “must be sufficiently definite so that it is administratively feasible for the court to

 ascertain whether a particular individual is a member.”18 The Plaintiffs have defined the class

 boundaries using PFC sampling data received from the three largest water providers in the Area

 of Investigation (Security, Widefield, and Fountain) and fate/transport modeling on the extent of

 the contamination.19 Therefore, the Court can easily ascertain members of the proposed classes.

        B.      The Proposed Classes Satisfy the Requirements of Rule 23(a).

                1.      The Proposed Classes Are So Numerous that Joinder of All Members
                        Is Impracticable.

        As the numerosity inquiry is fact-specific, courts are afforded substantial deference when

 16
    Maez v. Springs Auto. Group, LLC, 268 F.R.D. 391, 394 (D. Colo. 2010) (Blackburn, J.).
 17
    Rhodes v. Olson Assocs., P.C., 83 F. Supp. 3d 1096, 1111 (D. Colo. 2015) (Arguello, J.)
 (quoting Manual For Complex Litigation (Fourth) § 21,222 (2004)).
 18
    Joseph v. Gen. Motors Corp., 109 F.R.D. 635, 639 (D. Colo. 1986) (Kane, J.).
 19
    See Ex.1, Rosenfeld Supplemental Report, at 2.
                                                  6
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 making this determination. 20 Plaintiffs are not required to “identify the exact number of class

 members involved [and] courts have often used common sense assumptions to support a finding

 of numerosity.”21 While the exact number of Class Members is not yet known, a precise number

 is easily ascertainable from U.S. Census records, the State of Colorado, public records of

 municipal entities, and through other appropriate discovery methods. Given the large number of

 impacted individuals, the numerosity requirement is satisfied.

                2.      Questions of Law or Fact Are Common to the Proposed Classes.

        To satisfy Rule 23(a)(2) commonality, there need only be “a single question of law or

 fact common to the entire class.”22 “The claims of the class members need not be identical for

 there to be commonality; either common questions of law or fact will suffice.” 23 Plaintiffs can

 meet the requirement by showing a “common contention” that is “capable of classwide

 resolution” such that “determination of its truth or falsity will resolve an issue that is central to

 the validity of each one of the claims in one stroke.”24 Aquifers within the area exhibit levels of

 PFOA and PFOS in excess of the current EPA health advisory limit of 70 ppt. Exposure to

 contaminated water has put all residents in the water districts at a significantly increased risk of

 developing serious medical conditions. Additionally, the contamination is negatively impacting

 property values in these communities. The resolution of the following non-exhaustive list of


 20
    See Johnson v. Thompson, 971 F.2d 1487, 1498 (10th Cir. 1992) (Ebel, J.) (citing Rex v.
 Owens, 585 F.2d 432, 436 (10th Cir. 1978)) (reviewing the numerosity inquiry under an “abuse
 of discretion” standard).
 21
    Ditty v. Check Rite, 182 F.R.D. 639, 641 (D. Utah 1998).
 22
    DG ex rel. Stricklin v. Devaughn, 594 F.3d 1188, 1195 (10th Cir. 2010) (Baldock, J.).
 23
    Schwartz v. Celestial Seasonings, Inc., 178 F.R.D. 545, 551 (D. Colo. 1998) (Kane, J.); see
 also Devaughn, 594 F.3d at 1195 (“Factual differences between class members’ claims do not
 defeat certification where common questions of law exist.”).
 24
    Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 388, 350 (2011).
                                                  7
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 common legal and factual issues further supports commonality:

         Whether Defendants knew or should have known that AFFF contained persistent, stable,
          and mobile chemicals that were likely to contaminate groundwater supplies, thereby
          making AFFF unreasonably dangerous;
         Whether Defendants knew or should have known of the risk of health and environmental
          harm associated with PFOA and PFOS exposure and failed to warn of such risk;
         Whether exposure to PFOA and PFOA from Defendants’ AFFFs places Class Members
          at an increased risk of developing serious medical conditions;
         Whether contamination has negatively impacted Property Damage Class Members’
          property values;
         Whether Defendants are liable under theories of negligence, medical monitoring, strict
          products liability, or civil conspiracy;
         Whether Defendants are entitled to the government contractor affirmative defense; and
         Whether Plaintiffs and the Class are entitled to monetary damages or equitable relief,
          including but not limited to punitive damages.

                         a.     Common Issues Exist Regarding Medical Monitoring.

          In Colorado, a medical monitoring claim requires proof of the following elements: (1)

 Plaintiff was significantly exposed to a proven hazardous substance through the tortious actions

 of defendant; (2) As a proximate result of exposure, plaintiff suffers an increased risk of

 contracting a serious latent disease; (3) That increased risk makes periodic diagnostic medical

 examinations reasonably necessary; and (4) Monitoring and testing procedures exist which make

 the early detection and treatment of the disease possible and beneficial. 25 Though the Colorado

 Supreme Court has not addressed the issue, this Court has previously concluded, “the Colorado

 Supreme Court would probably recognize, in an appropriate case, a tort claim for medical

 monitoring.”26 Certifying the Medical Monitoring Class will enable presentation of common


 25
    See Cook v. Rockwell International Corp., 755 F. Supp. 1468, 1477 (D. Colo. 1991) (Babcock,
 J.) (citing In re Paoli R. Yard PCB Litig., 916 F.2d 829, 852 (3d Cir. 1990)).
 26
    Id. at 1477.
                                                 8
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 evidence concerning the elements of the claim above, each of which will involve findings related

 to:

            The water distribution systems for each district;
            The levels of PFOA and PFOS detected in the municipal and private water supplies;
            The elevated levels of PFOA and PFOS in Plaintiffs’ bloodstream; and
            The contours of a medical monitoring program designed to detect and treat the serious
             medical conditions associated with PFOA and PFOS bioaccumulation.

             Medical monitoring programs have been long-recognized27 as an appropriate remedy in

 class action lawsuits involving environmental contamination.28 Indeed, courts have certified

 medical monitoring classes in toxic exposure cases where, as here, thousands of persons have

 been exposed to the same contamination and a court can address questions affecting the entire

 class. 29     As described by James P. Kornberg, M.D., Sc.D., the proposed Tri-City Medical

 Monitoring Program30 is designed to monitor exposed persons who resided or currently reside in

 and around Security, Widefield, and Fountain, Colorado.

                             b.      Common Issues Exist Regarding Negatively                 Impacted
                                     Property Values.

             Plaintiffs also seek class certification for the contamination’s negative impact to property

 values. Whether contamination negatively impacted the Property Damage Class’ property values




 27
    For over thirty years, courts have certified medical monitoring classes in environmental class
 action litigation. See, e.g., In re Three Mile Island Litig., 557 F. Supp. 96 (M.D. Pa. 1982).
 28
    See Robert Wones et al., Medical Monitoring: A Beneficial Remedy for Residents Living Near
 an Envtl. Hazard Site, 51 J. Occupational Envtl. Med. 12, 1374-1383 (December 2009).
 29
    See, e.g., Donovan v. Philip Morris USA, Inc., 268 F.R.D. 1, 22 (D. Mass. 2010) (collecting
 cases).
 30
    See Ex. 3, Rosenfeld Revised Report at Attachment X (“Rationale for Development of Tri-City
 Medical Monitoring Program”); First Supplement, Rationale for Development of Tri-City
 Medical Monitoring Program, James P. Kornberg, January 26, 2018, attached as Exhibit 6.
                                                      9
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 is central in this litigation and will be identical for each Property Damage Class Member.31

 Certification of the Property Damage Class will enable presentation of common proof regarding:

         The contamination of water supplied to residents in the Fountain, Security, and Widefield
          water districts, and in the CDPHE groundwater investigation areas;
         The geographical zone of contamination identified by Dr. Paul Rosenfeld;
         Groundwater well testing demonstrating elevated concentrations of PFCs;
         Warnings received by residents that their household water was contaminated with
          dangerous levels of PFCs and to seek alternate sources of water;
         Whether PFOA and PFOS contamination negatively impacted property values; and
         The negative stigma associated with contaminated properties in the Fountain, Security,
          and Widefield water districts, and in the CDPHE groundwater investigation areas.

          While the negative impacts may vary among individual Class Members, the methodology

 for calculating the impact can be based on class-wide proof.32          Therefore, commonality is

 satisfied.

                 3.      The Plaintiffs’ Claims Are Typical of the Classes’ Claims or Defenses.

          In the Tenth Circuit, typicality of claims or defenses “exists where . . . all class members

 are at risk of being subjected to the same harmful practices, regardless of any class member’s

 individual circumstances.”33 While the named plaintiffs and potential class members do not need

 to be identically positioned, “there [must be] a nexus between the class representatives’ claims or


 31
     Class wide effects of contamination on property value can reasonably and reliably be
 established through methodologies including matched pairs analysis and statistical analysis. See
 Report of William M. James, MAI, Methodology for Determination of the Effect on Market
 Value of Real Properties Resulting from Contamination of Water – Fountain Creek Water Shed,
 attached as Exhibit 4.
 32
     See Jackson v. Unocal Corp., 262 P.3d 874, 890 (Colo. 2011) (affirming trial court’s
 identification of “diminution in value of class members’ properties as a result of asbestos
 contamination” as question common to all class members).
 33
    Devaughn, 594 F.3d at 1199 (finding typicality exists where the harm or threat of harm
 suffered by named Plaintiffs is typical of the harm or threat of harm for all members in the class).
                                                  10
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 defenses and the common questions of fact or law which unite the class.” 34              The Class

 Representatives’ claims are premised on the Defendants’ manufacture, sale, and distribution of

 AFFF to the USAF and PAFB. Issues surrounding efficacy, safety, and warnings provided with

 AFFF, and the effects of contaminated groundwater on health and property, link the claims

 asserted to questions of law and fact common to the entire class. Medical Monitoring Class

 Representatives, like all individuals who have consumed contaminated water from the three

 water districts and private wells, have been exposed to dangerous levels of PFOA and PFOS and

 suffer from an increased risk of developing serious medical conditions. 35 Similarly, Property

 Damage Class Representatives, like all property owners residing within the zone of

 contamination, have been negatively impacted due to the contamination caused by Defendants’

 conduct.

                4.      The Plaintiffs Will Fairly and Adequately Protect Class Interests.

        Fair and adequate representation of the Classes’ interests depends on resolution of two

 questions: “‘(1) do the named plaintiffs and their counsel have any conflicts of interest with other

 class members and (2) will the named plaintiffs and their counsel prosecute the action vigorously

 on behalf of the class?’”36 Neither Plaintiffs’ interests nor the interests of counsel conflict with

 the interests of the class they seek to represent. Class counsel are qualified and able to conduct

 the litigation on behalf of the Classes, have substantial experience in complex, class action, and

 environmental tort litigation, and have the resources necessary to vigorously prosecute this case.

 Therefore, Plaintiffs will fairly and adequately protect class interests.

 34
    Schwartz, 178 F.R.D. at 551.
 35
    Ex. 1, Rosenfeld Supplemental Report at 15-16.
 36
    Rhodes v. Olson Assocs., P.C., 83 F.Supp.3d 1096, 1114 (D. Colo. 2015) (Arguello, J.)
 (quoting Rutter & Wilbanks Corp. v. Shell Oil Co., 314 F.3d 1180, 1187-88 (10th Cir. 2002)).
                                                   11
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        C.      The Proposed Classes Satisfy the Requirements of Rule 23(b)(3).

        Rule 23(b)(3) requires that “questions of law or fact common to class members

 predominate over any questions affecting only individual members and that a class action is

 superior to other available methods for fairly and efficiently adjudicating the controversy.”37

                1.      Common Issues Predominate

        The Rule 23(b)(3) “‘predominance inquiry tests whether proposed classes are sufficiently

 cohesive to warrant adjudication by representation.” 38 The question of liability is the focus of

 the predominance inquiry. 39 In addressing environmental mass torts, the District of Colorado has

 approvingly cited the analysis adopted by the Sixth Circuit whereby a court can certify a class

 based on common issues surrounding Defendants’ liability, even if issues surrounding

 individualized damages remain. 40 “The mere fact that questions peculiar to each individual

 member of the class remain after the common questions of the defendant’s liability have been

 resolved does not dictate the conclusion that a class action is impermissible.” 41 Specifically with

 regard to medical monitoring, the District of Colorado has never analyzed the propriety of

 37
    Fed. R. Civ. P. 23(b)(3).
 38
    CGC Holding Co., LLC v. Broad & Cassel, 773 F.3d 1076, 1087 (10th Cir. 2014) (quoting
 Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 623 (1997)).
 39
    Maez, 268 F.R.D. at 397.
 40
    Daigle v. Shell Oil Co., 133 F.R.D. 600, 604 (D. Colo. 1990) (quoting Sterling v. Velsicol
 Chemical Corp., 855 F.2d 1188, 1196) (‘“In mass tort accidents, the factual and legal issues of a
 defendant’s liability do not differ dramatically from one plaintiff to the next. No matter how
 individualized the issue of damages may be, these issues may be reserved for individual
 treatment with the question of liability tried as a class action. Consequently, the mere fact that
 questions peculiar to each member of the class remain after the common questions of the
 defendant’s liability have been resolved does not dictate the conclusion that a class action is
 impermissible.’”).
 41
    Clark v. State Farm Mut. Auto Ins. Co., 245 F.R.D. 478, 488 (D. Colo. 2007) (quotations
 omitted) (quoting Sterling v. Velsicol Chem. Corp., 855 F.2d 1188, 1197 (6th Cir. 1988))
 (finding that even if each individual plaintiff’s damages require a separate inquiry, common
 questions of law or fact may predominate).
                                                  12
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 certifying a medical monitoring class under Rule 23(b)(3).42 Here, the core issue for both classes

 is whether Defendants are liable for the harms from the manufacture, distribution, and sale of

 AFFF to PAFB.43 When presented with similar facts, other courts have found the predominance

 inquiry met.44

                  2.   Class Treatment is Superior

        The Rule 23(b)(3) superiority inquiry requires that the class action be “superior to other

 available methods for fairly and efficiently adjudicating the controversy,” and analyzes: “(a) the

 class members’ interest in individually controlling the prosecution or defense of separate actions;

 (b) the extent and nature of any litigation concerning the controversy already begun by or against

 class members; (c) the desirability or undesirability of concentrating the litigation of the claims

 in the particular forum; and (d) the likely difficulties in managing a class action.” 45 This case,

 the only current case addressing the contamination in these communities, involves issues

 common to all class members. If cases were individually adjudicated, the discovery and expert

 analysis would be duplicative and wasteful of judicial resources. As Class Members all reside or

 42
    See Cook v. Rockwell Int’l Corp., 181 F.R.D. 473, 480-82 (D. Colo. 1998) (“Because [the
 Court] decertifies the medical monitoring class, [the Court] consider[s] whether the requirements
 of Rule 23(a) and (b)(3) are still met with regard only to the Property Class”).
 43
    For example, a thorough analysis of industry leader The 3M Company details research 3M
 performed beginning in the late 1940s on the properties of PFCs, including reactivity, stability,
 solubility, and effects on the environment, animals and people. See Expert Report of Kirk W.
 Brown, Exhibit 76 to Memorandum in Support of State of Minnesota’s Motion to Amend
 Complaint, at 6-10 and 17-25, State of Minnesota, et al. v. 3M Company, 2016 Minn. Dist.
 LEXIS 1 (No. 27-cv-10-28862), attached as Exhibit 7. In addition, 3M has openly admitted that
 it is the only known manufacturer of PFOS in the United States to the California Office of
 Environmental Heath Hazard Assessment. See 3M Company Recommendation Regarding
 Prioritization of PFOS for Consideration under Proposition 65, October 14, 2015, attached as
 Exhibit 8. These facts address 3M’s liability as to all class plaintiffs.
 44
    See, e.g., Bentley v. Honeywell Int’l, Inc., 223 F.R.D. 471, 487 (S.D. Ohio 2004) (following
 Sterling and finding that common issues predominated over individualized issues of damages).
 45
    Id.
                                                 13
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 own real property in a concretely defined area in Colorado, this Court can conduct proceedings

 under federal law and the law of only one state – Colorado. Accordingly, the superiority

 requirement is met.

        D.      The Medical Monitoring Class Satisfies the Requirements of Rule 23(b)(2).

        In the alternative, certification of the Medical Monitoring Class is proper under Rule

 23(b)(2).46 Creating a medical monitoring trust fund is a form of equitable relief because

 Plaintiffs would only receive the services of the medical monitoring program.47 Rather than

 tailor specific remedies based on individual circumstances or characteristics of class members, 48

 Plaintiffs’ medical monitoring program can be applied without differentiating between members.

 Where Plaintiffs solely request services to be applied uniformly to all Class Members, a medical

 monitoring class should be certified. 49

                                            CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request the Court grant their Motion.

        Dated: January 26, 2018                       Respectfully Submitted,
                                                      NAPOLI SHKOLNIK, PLLC


 46
    Fed. R. Civ. P. 23(b)(2) permits certification where “the party opposing the class has acted or
 refused to act on grounds that apply generally to the class, so that final injunctive relief or
 corresponding declaratory relief is appropriate respecting the class as a whole.”
 47
    See Donovan, 268 F.R.D. at 22 (finding relief to be injunctive where plaintiffs sought “a
 structured program, monitored by and staffed with medical personnel, in which class members
 will receive regular medical screenings. To effectuate the program, plaintiffs would have to hire
 medical and administrative personnel, purchase equipment, and establish procedures for intake,
 informed consent, record keeping, and so on.”).
 48
    Shook v. Bd. of County Comm’rs, 543 F.3d 597, 604 (10th Cir. 2008).
 49
    Boughton v. Cotter, 65 F.3d 823, 827 (10th Cir. 1995) (holding that medical monitoring
 claims, if not primarily a request for monetary damages, are a request for injunctive relief and
 “certification of a class under such circumstances [would be] legally permissible under Rule
 23(b)(2) . . .”).
                                                 14
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                               CERTIFICATE OF SERVICE


         I hereby certify that on January 26, 2018, a true and correct copy of the foregoing
 MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
 was filed using the Court CM/ECF system and thereby serving all counsel of record.


                                                  /s/ Patrick J. Lanciotti




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